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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

SCOTT RIGSBY and THE
SCOTT RIGSBY
FOUNDATION, INC., CIVIL ACTION
FILE NO.
Plaintiffs,

v.
GODADDY INC.,
GODADDY.COM, LLC,
GODADDY OPERATING
COMPANY, LLC, and
DESERT NEWCO, LLC.

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Defendants.
VERIFIED COMPLAINT

COMES NOW Scott Rigsby and The Scott Rigsby Foundation, Inc.
plaintiffs in the above styled action, and for their complaint against the Defendants
state the following:

1.

Plaintiffs are residents of Cobb County, Georgia who are being irreparably

harmed by Defendants’ allowing some other person or entity to hijack the domain

name scottrigsbyfoundation.org. This other person or entity has changed the

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website using the scottrigsbyfoundation.org domain name into an online gambling
site, whereas before the site for which the domain was being used was obviously
the site of The Scott Rigsby Foundation, Inc., a charitable foundation organized as
a Georgia non-profit corporation by Scott Rigsby, the purpose of which was to
raise money for wounded warriors, amputees and persons with disabilities who
needed assistance of all kinds that the Foundation could provide through third
parties.
2

Scott Rigsby, a native of Camilla, Georgia, had his life forever changed at
eighteen years of age, in 1998, when he was riding in the back of a pickup truck, a
part of a lawn maintenance crew, that was towing a three-ton trailer. An eighteen-
wheeler clipped the trailer from behind at relatively high speed. Rigsby was thrown
out of the truck and dragged down the road for 324 feet (slightly longer than a
football field) before his situation got even worse and he was pinned under the
trailer. Miraculously, he survived the crash. The medical care he needed as a result
of the accident spanned over 12 years including 26 surgeries, including one
immediately after the accident to amputate one of his legs, and another much later

when the other leg was amputated.

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Rigsby was eventually fitted with prosthetic legs at the end of 1999, with a
prognosis that it would take him more than a year to learn to walk again, and that it
was quite doubtful he would ever run again. Nonetheless, Rigsby eventually
developed the goal of competing in the Iron Man Triathalon. On October 13,
2007, he became the first double-leg amputee using prosthetics to complete this
most grueling event. He followed this amazing performance with many other
competitions, and as a result became a professional motivational speaker as well as
a Certified counselor and an advocate for people with disabilities. His work
included creating the Scott Rigsby Foundation on March 21, 2007, and using it to
raise money to help disabled vets, as well as other people with disabilities. The
Foundation also helped promote Rigsby’s career as a motivational speaker, as his
having a specific cause he could use to frame his connection with the audience
enhanced his marketability as a speaker.

4.

Scott Rigsby secured the domain name scottrigsbyfoundation.org around
2007 from GoDaddy.com. GoDaddy.com had been started in 1997 with a generally
straightforward corporate structure. However, in 2014, after losing nearly 200
million dollars in 2013, GoDaddy sought to raise $100 million in an initial public
offering by selling Class A shares in a newly formed corporation without any

material assets or a history of engaging in business activities. The prospectus for

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this offering revealed that Desert Newco, LLC was the company through which
GoDaddy Inc. conducted its business. The GoDaddy Inc. entity became the sole
managing member of Desert Newco, LLC, meaning that GoDaddy Inc. controlled
Desert Newco, LLC. The owners of Desert Newco, LLC were the founder of

GoDaddy, Bob Parsons, and multiple investment firms like KKR, Blackrock, etc.

5.

In the prospectus mentioned above, GoDaddy Inc. stated it had 12 million
customers, and announced that it was a leading technology provider to small
businesses. GoDaddy differentiated itself by stating that it delivered simple, easy to
use cloud-based products and outcome-driven personalized customer care—"
(unlike other technology companies) GoDaddy strive(s) to deliver both great
technology and great support to its customers.” This suit has been filed because
Defendants have failed miserably to provide any support whatsoever to The Scott
Rigsby Foundation, Inc, and Scott Rigsby, much less great support, and
GoDaddy’s failure to provide support has caused incalculable damage to Plaintiffs.

6.

Weaving through the corporate maze which is GoDaddy on the internet,

Plaintiff and his counsel believe they have identified the proper entity Defendants

for this action. They are GODADDY INC., GODADDY.COM, LLC, GODADDY

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OPERATING COMPANY, LLC, and DESERT NEWCO, LLC. All four of these
entities were formed in Delaware. GoDaddy.com, LLC obtained a Certificate of
Authority to transact business in Georgia on August 17, 2016. Its registered agent
is Corporation Service Company, 40 Technology Parkway South, #300, Norcross
GA 30092. GoDaddy Inc., a Delaware Corporation, has as its registered agent in
Delaware, Corporation Service Company, 251 Little Falls Drive, Wilmington DE
19808. Go Daddy Operating Company, LLC is a Delaware Limited Liability
Company and its registered agent is Corporation Service Company, 251 Little Falls
Drive, Wilmington DE 19808. Desert Newco, LLC is a Delaware Limited Liability
Company and its registered agent is Corporation Service Company, 251 Little Falls
Drive, Wilmington DE 19808.
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All the Defendants are subject to the jurisdiction of this Court.
GoDaddy.com, LLC is subject to the jurisdiction of this court because it is
registered to do business in Georgia. The other defendants, being “Nonresidents”
because they are not currently authorized to transact business in this state, and
because they were not authorized to do business in this state at the time that the
causes of action in this case arose, are subject to the Court’s jurisdiction pursuant
to O.C.G.A. 9-10-91 because each of those entities’ email contacts with Georgia,

their interactive websites through they conducted business with Georgia customers

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physically located in Georgia, and their interactions by telephone with Georgia
customers physically located in Georgia, taken together, establish that they were
transacting business in Georgia pursuant to O.C.G.A. 9-10-91, as well as soliciting
business in Georgia, engaging in a persistent course of conduct in connection with
their activities so as to develop a presence in the state of Georgia, and derived
substantial revenue from services rendered to administrators of websites physically
located in Georgia. They also caused a tortious injury to Plaintiffs the
consequences of which were felt in this state.
8.

GoDaddy Inc. in the prospectus touted as of December 31, 2013 managing
57 million domains worldwide, having as of March 31, 2014 having 840 engineers,
127 issued patents, and 176 pending patent applications in the United States, and
being one of the most recognized technology brands in the United States. In its
Second Quarter 2019 Earnings Results News Release, GoDaddy Inc. reported
almost 19 million customers, and domains revenue of $334.4 million for the
quarter, confirmations of its ever-expanding country-wide and worldwide
presence. In light of these facts, all of the GoDaddy entities had to be aware that
they could be sued, because of their overwhelming presence throughout the United
States, and certainly in the State of Georgia considering the vast business activities

and use of websites in the Atlanta area, and the massive use of GoDaddy domain

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names in Georgia. The Court’s assertion of jurisdiction over Defendants under the
circumstances is not random, fortuitous or attenuated. Rather it was clearly
predictable when Defendants began offering domain names to Georgia customers
and selling domain names to Georgia customers on a gargantuan scale. This suit
arises specifically out of a domain name Plaintiffs bought from GoDaddy.

8.

This case involves a federal question, and it is also between citizens of
different states, with the amount in controversy in excess of $75,000, so that the
Court has subject matter jurisdiction over this case additionally under 28 U.S.C.
1332.

9.

Venue in this Court is proper under 28 U.S.C. 1391 in that GoDaddy.com,
LLC is a resident of Georgia and is subject to personal jurisdiction in this court, a
substantial portion of the transactions and events underlying this action concerning
all Defendants occurred in this District, and all Defendants are subject to
jurisdiction in this Court.

10.

As stated above, Scott Rigsby obtained the website domain name

scottrigsbyfoundation.org in 2007. He paid for the domain name through the first

portion of 2018, but there was a glitch in GoDaddy.com’s billing to Rigsby in the

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spring of 2018. Rigsby did not timely receive a bill for the cost of maintaining the
domain name for the site from GoDaddy. Because he did not timely receive a bill
from GoDaddy, Rigsby did not pay for the cost of maintaining the domain name
by the deadline GoDaddy imposed. When he did not pay, GoDaddy did not alert
Rigsby that he had not paid, or that their policy was that absent payment anybody
could take the domain name scottrigsbyfoundation.org as long as they paid
GoDaddy’s price.

11.

In fact, GoDaddy.com let some other person or entity register the domain
name scottrigsbyfoundation.org and take control over the website content on the
website for the Scott Rigsby Foundation, in the late spring of 2018. Since then,
Rigsby first himself, and then through counsel has attempted to obtain GoDaddy’s
agreement to terminate the registration of the domain name the hijacker registered,
even though when GoDaddy allowed the hijacker to register the domain name, the
hijacker had given false information, the hijacker was not making the application
for the name in good faith, and the hijacker did not meet the eligibility criteria to
register the name. The purported Domain Name Registration Agreement, which
was an illusory contract therefore unenforceable because GoDaddy reserved the
right in its sole and absolute discretion to change or modify the agreement at any

time, was not an effective agreement. Yet, GoDaddy in its document still

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acknowledged that there were situations in which the applicant should not be
allowed to register the name. Such a situation was present in this case.

12,

There are many unconscionable provisions in the purported Domain

Registration Agreement that would invalidate it if Defendants tried to apply it to
Rigsby. In addition, the way GoDaddy.com tried to make electronic signing
effective to consummate the agreement, or to make the agreement by use of the site
effective, violated the Uniform Electronic Transactions Act, O.C.G.A. 10-13-1,
particularly O.C.G.A 10-13-5, which requires a separate document by which the
parties agree to make agreements electronically. There is an actual case or
controversy as to the enforceability of the purported Domain Registration
Agreement.

13.

In addition, there is an actual case or controversy as to Defendants’ refusal
to terminate the use of the domain name scottrigsbyfoundation.org and Plaintiffs’
counter demand that that they do so and allow Scott Rigsby to re-register the name.

COUNT ONE
14.
The allegations of paragraphs 1-13 of this Verified Complaint are hereby

incorporated by reference.

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15.

The Uniform Deceptive Trade Practices Act, O.C.G.A. 10-1-370 et seq.,
allows persons (defined to include both individuals and entities) likely to be
damaged by a deceptive trade practice of another to obtain an injunction against
that other party under the principles of equity and on terms that the court deems
reasonable. Proof of monetary damage, loss of profits, or intent to deceive is not
required. Further, to prevail, Plaintiffs need not show competition between it and
Defendants or the hijacker. Actual confusion or misunderstanding is not required
for the Plaintiffs to obtain injunctive relief.

16.

O.C.G.A. 10-1-372 states what constitutes engaging in a deceptive trade
practice. There is a dragnet section (a)(12) in the statute that says it covers any
conduct which creates a likelihood of confusion or of misunderstanding. Here, not
only have the Defendants generally caused confusion and misunderstanding as to
the activities of motivational speaker Scott Rigsby, Defendants have specifically
violated the first three subsections of the statute:

1. Defendants have passed the services of The Scott Rigsby Foundation as
the services of the hijacker.

2. Defendants have caused and are causing likelihood of confusion or of

misunderstanding as to the source, sponsorship, and approval of the online

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gambling services, creating the impression the charitable entity The Scott Rigsby
Foundation is providing online betting services.

3. Defendants are causing likelihood of confusion or of misunderstanding as
to The Scott Rigsby Foundation’s association or connection with the hijacker’s
promotion of online gambling activities.

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Accordingly, Plaintiffs are entitled to an injunction forbidding Defendants
from the time of the entry of the injunction from passing off the services of The
Scott Rigsby Foundation as the services of the hijacker, causing likelihood of
confusion or of misunderstanding as to the source, sponsorship, and approval of
the online gambling services presently offered at scottrigsbyfoundation.org, and
forbidding Defendants from the time of the entry of the injunction from creating
the impression the charitable entity The Scott Rigsby Foundation is providing
online betting services, and from causing likelihood of confusion or of
misunderstanding as to The Scott Rigsby Foundation’s association or connection
with the hijacker. To accomplish the aim of the injunction, Plaintiffs are also
entitled to an injunction forbidding Defendants from letting the hijacker or anyone
else other than The Scott Rigsby Foundation, Inc. register the domain name
scottrigsbyfoundation.org., and compelling Defendants to allow The Scott Rigsby

Foundation Inc. to once again use the domain name scottrigsbyfoundation.org.

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COUNT TWO
18.
The allegations of paragraphs 1-16 of this Verified Complaint are hereby
incorporated by reference.
. 19,
15 U.S.C. 1125(a) authorizes a civil action against Defendants, and declares
the Defendants shall be liable in that civil action, for using in connection
with any services in commerce, any word, term, name or combination
thereof; or false or misleading description of fact; or false or misleading
representation of fact;
Under subsection (A), which is likely to cause confusion or to cause
mistake, or to deceive as to the origin, sponsorship or approval of his
services or commercial activities by another person; and
Under subsection (B), in commercial advertising or promotion(which
websites are as a practical matter), which misrepresents the characteristics of
another person’s services or commercial activities.
20.
Currently, Defendants control the domain name scottrigsbyfoundation.org
and they are knowingly providing the use of the domain name in a way which

deceives as to whether Scott Rigsby and his Foundation sponsor or approve of, or

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actually offer as a part of their commercial activities, online betting services. In
addition, Defendants, who publicly state they are engaged in the commercial
advertising and promotion business, are misrepresenting the characteristics of the
Foundation’s services. But for GoDaddy’s hosting activities, the online betting
service’s hijacking activities could never be seen.

21.

Presently confusion reigns, confusion Defendants have created and allowed
and which has stopped the activities of the Scott Rigsby Foundation in its tracks.
Scott Rigsby the individual, has suffered grievous losses to his speaking career
because of the taint the connection to the online betting site has put on his name
and his Foundation. He cannot fundraise for the Foundation at this time as he needs
to protect his donors from association with online gambling. The Foundation
cannot operate with its domain hijacked.

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As a result of the foregoing, Defendants are liable in this action to Plaintiffs
under 15 U.S.C. 1125 for damages to be determined in the enlightened conscience
of the jury, and Plaintiffs are entitled to a judgment against Defendants in that
amount.
COUNT THREE

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The allegations of paragraphs 1-22 of this Verified Complaint are hereby
incorporated by reference.

24.

There is an actual case or controversy between the parties regarding whether
the purported Domain Registration Agreement is an enforceable contract given the
failure to comply with O.C.G.A. 10-13-5, the fact that it is illusory in that
Defendants can change it at any time, and the fact that it is unconscionable.

Ba.

In addition, there is an actual case or controversy as to Defendants’ refusal
to terminate the use of the domain name scottrigsbyfoundation.org and Plaintiffs’
counter demand that that they do so and allow Scott Rigsby to re-register the name.

24.

Plaintiffs are entitled under 28 U.S.C. 2201 to a declaratory judgment that
the purported Domain Registration Agreement is unenforceable against Plaintiffs,
and that Defendants cannot allow the hijacker from the date of the declaratory
judgment forward allow the hijacker to use the domain name
scottrigsbyfoundation.org., and that The Scott Rigsby Foundation Inc. is the proper
owner of the domain name scottrigsbyfoundation.org, so that Defendants must
allow Plaintiffs to use that domain name.

WHEREFORE, Plaintiffs respectfully pray that

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(1)they be granted an injunction forbidding Defendants from the time of the
entry of the injunction from passing the services of The Scott Rigsby
Foundation as the services of the hijacker, causing likelihood of
confusion or of misunderstanding as to the source, sponsorship, and
approval of the online gambling services presently offered at
scottrigsbyfoundation.org, and forbidding Defendants from the time of
the entry of the injunction from creating the impression the charitable
entity The Scott Rigsby Foundation is providing online betting services,
and from causing likelihood of confusion or of misunderstanding as to
The Scott Rigsby Foundation’s association or connection with the
hijacker, to an injunction forbidding Defendants from letting the hijacker
or anyone else other than The Scott Rigsby Foundation, Inc. register the
domain name scottrigsbyfoundation.org.

(2)they be granted a judgment against Defendants under 15 U.S.C. 1125 for
damages determined in the enlightened conscience of the jury.

(3) they be granted a declaratory judgment against Defendants under 28
U.S.C. 2201 declaring that the purported Domain Registration Agreement is
unenforceable against Plaintiffs, and that Defendants cannot allow the hijacker
from the date of the declaratory judgment forward allow the hijacker to use the

domain name scottrigsbyfoundation.org. and that The Scott Rigsby Foundation

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Inc. is the proper owner of the domain name scottrigsbyfoundation.org, so that
Defendants must allow Plaintiffs to use that domain name.

(3) That the costs of this action and reasonable attorneys’ fees incurred by
Plaintiffs in obtaining relief under O.C.G.A. 10-1-370 et seq. be awarded
to Plaintiffs, and that judgment be entered for Plaintiffs against
Defendants for same in an amount to be determined in the reasonable
conscience of the jury.

(4) That Plaintiffs be awarded such other and further relief to Plaintiff as the
Court deems proper.

Respectfully submitted this 25" day of August, 2019.

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CERTIFICATION OF COUNSEL

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Pursuant to Local Rule 7.1, N.D.Ga., the undersigned counsel certifies that this brief
was prepared with Times New Roman (14 point) one of the font selections approved
by the Court in Local Rule 5.1B N.D.Ga.

s/Charles M. Dalziel, Jr.

Charles M. Dalziel, Jr.

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

SCOTT RIGSBY and THE
SCOTT RIGSBY

FOUNDATION, INC., CIVIL ACTION

FILE NO.
Plaintiffs,

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GODADDY INC.,
GODADDY.COM, LLC,
GODADDY OPERATING
COMPANY, LLC, and
DESERT NEWCO, LLC.

Defendants.
VERIFICATION
Personally appeared before the undersigned notary public, Scott Rigsby, who
being first duly sworn deposes and says that | am over eighteen years of age, that I
am under no mental disability, that I am the CEO of The Scott Rigsby Foundation,
Inc., that I am authorized to make this verification on behalf of the Foundation as
well as in my personal capacity, and that the facts stated in the foregoing Verified

Complaint are true and correct. 4A it Te ~
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Scott Rigsby,
Individually and on
behalf of
The Scott
RigsbyFoundation,Inc.
Sworn to and subscribed before me
this 21°' day of August;-201

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ar OFFICIAL SEAL

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KP CHARLES MDALZIEL JR §
5 Notary Public, Georgia,
COBBCOUNTY.

‘ “Ff ~My Commission Expires ¢

September 29, 2021

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